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                           UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF MASSACHUSETTS
                                   WESTERN DIVISION



                                                        Chapter 7
                                                        Case No. 17-30935-EDK
  CYNTHIA SAMPLE,
                Debtor




      NOTICE OF INTENDED PRIVATE SALE OF PROPERTY OF THE ESTATE
       SOLICITATION OF COUNTEROFFERS DEADLINE FOR SUBMITTING
           OBJECTIONS AND HIGHER OFFERS AND HEARING DATE

                  (384 HOUSATONIC STREET, LENOX, MASSACHUSETTS)

September 27, 2018                               IS THE TENTATIVE DATE OF THE PROPOSED

                                                 SALE

September 10, 2018 at 4:30 p.m.                  IS THE DATE BY WHICH OBJECTIONS AND

                                                 HIGHER OFFERS MUST BE MADE

          To the office of the United States Trustee, creditors, and parties in interest:

          NOTICE IS HEREBY GIVEN, pursuant to Fed. R. Bankr. R. 2002, 6004(c) and 9014,

and MLBR 2002-5 and 6004-1, that Steven Weiss, the duly appointed Trustee in this case,

intends to sell at private sale all of the estate's right, title and interest in certain property of the

estate.

PROPERTY TO BE SOLD:

          The property is the estate's interest in a single family home with an address of 384

Housatonic Street, Lenox, Massachusetts (referred to herein as the "Property"), as described in a

deed recorded in the Berkshire (Middle) County Registry of Deeds at Book 3232, Page 77.
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THE OFFER:

       1.      The Trustee has received an offer to purchase the Property for the sum of One

Hundred Seventy Four Thousand and 00/100 ($174,000.00), as described in more detail in

the Motion. The Purchasers have delivered a deposit of $1,740 ("Deposit") to the broker. There

is no financial relationship between the Debtor and the Purchasers.

       2.      The sale is not subject to a financing or title insurance contingency.

THE PROPOSED BUYER:

       Marion and Shawn Ceanga (the "Purchasers") or their nominee. The Purchasers are not

insiders of the Debtor or the estate as that term is defined in 11 U.S.C. § 101 (31).

THE SALE DATE:

       The sale shall take place on or before the earlier of October 15, 2018 or 15 days after the

approval of the sale by the Court (although the Trustee reserves the right to extend the closing

date). The terms of the proposed sale are more particularly described in a Motion for Order

Authorizing and Approving Private Sale of Property of the Estate (the "Motion to Approve

Sale") filed with the Court on August 15, 2018. The Motion to Approve Sale and the Purchase

and Sale agreement are available upon request from the undersigned.

SALE FREE AND CLEAR OF LIENS:

       The Property will be sold free and clear of all liens and encumbrances. Any perfected,

enforceable valid liens shall attach to the proceeds of the sale according to priorities established

under applicable law.

COUNTEROFFERS OR OBJECTIONS:

       Any objections to the sale and/or higher offers must be filed in writing with the Clerk,

United States Bankruptcy Court at 300 State Street, Springfield, Massachusetts 01105 on or
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before September 10, 2018 at 4:30 p.m. (the "Objection Deadline"). A copy of any objection or

higher offer also shall be served upon the undersigned. Any objection to the sale must state with

particularity the grounds for the objection and why the intended sale should not be authorized.

Any objection to the sale shall be governed by Fed. R. Bankr. P. 9014.

       Through this Notice, higher offers for the Property are hereby solicited. Any higher

offer must be in an amount no less than $180,000.00 and must be accompanied by a cash

deposit of no less than $1,740.00 in the form of a certified or bank check made payable and

delivered to the undersigned. Higher offers must be on the same terms and conditions in

the Motion to Approve Sale, other than the purchase price. Any party submitting a higher

offer may also be required to provide the Trustee with evidence of the bidder’s ability to

complete the purchase.

       Any offer not timely received, or not complying with these conditions, may not be

considered as a valid counteroffer.

HEARING:

       A hearing on the Motion to Approve Sale, objections or higher offers is scheduled to take

place on September 13, 2018 at 11:00 a.m., before the Honorable Elizabeth D. Katz, United

States Bankruptcy Judge, at United States Bankruptcy Court, 300 State Street, Springfield,

Massachusetts. Any party who has filed an objection or higher offer is expected to be present at

the hearing, failing which the objection will be overruled or the higher offer stricken.

       The Court may take evidence at the sale hearing to resolve issues of fact. If no objection

to the Motion to Approve Sale or higher offer is timely filed, the Bankruptcy Court, in its

discretion, may cancel the scheduled hearing and approve the sale without hearing.
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          At the hearing on the sale the Court may, 1) consider any requests to strike a higher offer,

2) determine further terms and conditions of the sale, 3) determine the requirements for further

competitive bidding, 4) require one or more rounds of sealed or open bids from the original

offeror and any other qualifying offeror.

DEPOSIT:

          The Deposit will be forfeited to the estate if the successful purchaser fails to complete the

sale by the date ordered by the Court. If the sale is not completed by the buyer approved by the

Court, the Court, without further hearing, may approve the sale of the Assets to the next highest

bidder.

          Any questions concerning the intended sale shall be addressed to the undersigned.



                  Dated: August 20, 2018

                                                STEVEN WEISS, TRUSTEE

                                                By: /s/ Steven Weiss
                                                 Steven Weiss, Esquire
                                                 BBO# 545619
                                                 Shatz, Schwartz and Fentin, P.C.
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